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                                                                                          09/06/2019


                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division



   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUNIZ, HANNAH
   PEARCE, MARCUS MARTIN, NATALIE
   ROMERO, CHELSEA ALVARADO, and
   JOHN DOE,

                                  Plaintiffs,            Civil Action No. 3:17-cv-00072-NKM

    v.

    JASON KESSLER, et al.,

                                  Defendants.



    ORDER SEALING EXHIBIT TO PLAINTIFFS’ MOTION SEEKING LEAVE TO
  DEPOSE THOMAS RYAN ROUSSEAU AS AN AUTHORIZED REPRESENTATIVE OF
                        VANGUARD AMERICA

         WHEREAS, on September 5, 2019, Plaintiffs filed a Motion Seeking Leave to Depose

  Thomas Ryan Rousseau as an Authorized Representative of Vanguard America, (ECF No. 551),

  and did not publicly file Exhibit 1 in accordance with Plaintiffs’ position that Exhibit 1 contains

  Confidential or Highly Confidential information pursuant to the Order for the Production of

  Documents and Exchange of Confidential Information on January 3, 2018 (ECF No. 167);

         WHEREAS, Plaintiffs have provided unredacted copies of the Exhibit to the Court and

  moved, pursuant to Local Rule 9, for the Exhibit to be sealed.

         IT IS HEREBY ORDERED, that the motion to seal (ECF No. 552) is GRANTED, and

  Exhibit 1 to Plaintiffs’ Motion is hereby sealed pursuant to Local Rule 9.




                                                  1
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  Dated: September 6, 2019

  SO ORDERED




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                                                Hon. Joel C. Hoppe, M.J.
